               Case 17-60670-crm            Doc 10       Filed 06/21/17 Entered 06/21/17 19:08:12                   Desc
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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                   FOR THE NORTHERN DISTRICT OF GEORGIA

IN RE:                Patricia R. West                              §                Case Number:      17-60670-CRM-13
                                                                    §
                      Debtor(s)                                     §                Chapter:          13
                                         REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT BMW Bank of North America hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), Ascension Capital Group hereby requests that:
                (i)        all notices given or required to be given in the case; and
                (ii)       all pleadings and correspondence served or required to be served in this case,
         regarding BMW Bank of North America should be directed to Ascension Capital Group at the following mailing
         address effective immediately:

                 Attn: BMW Bank of North America Department
                 Ascension Capital Group
                 Account: XXXXX0560
                 P.O. Box 165028
                 Irving, TX 75016

                  This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                  Respectfully submitted,

                                                                  /s/ Zann Welch
                                                                  Zann Welch
                                                                  Claims Processor
                                                                  Bankruptcy Servicer for BMW Bank of North America
                                                                  Ascension Capital Group
                                                                  P.O. Box 165028
                                                                  Irving, TX 75016
                                                                  (817) 277-2011, Fax (817) 461-8070
                                                                  ecfnotices@ascensioncapitalgroup.com
                                                                  File # 1153895
